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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

PETE CZOSNYKA, et al.,

    Plaintiffs,                                21-cv-3240

       v.                                      Hon. Sharon Johnson Coleman

JAMES GARDINER, et al.,

    Defendants.

       PLAINTIFFS’ RESPONSE TO THE CITY OF CHICAGO OFFICE
            OF INSPECTOR GENERAL’S MOTION TO QUASH

   Plaintiffs, through counsel, respond in opposition to the City of Chicago Office of

Inspector General’s Motion to Quash as follows:

                           RELEVANT BACKGROUND

I. Nature of the Case

   In this case, Plaintiffs claim that Defendant James Gardiner, who is the

alderman of Chicago’s 45th Ward, violated and continues to violate their rights

under the First Amendment by engaging in content-based regulation of speech on

the Facebook Page that he uses to communicate with constituents about

government business. The Facebook Page (the “Page”) can be found at

https://www.facebook.com/AldermanGardiner. In particular, Plaintiffs claim that

Alderman Gardiner has violated the First Amendment by blocking particular

constituents from being able to interact with the Page, deleting comments from the

Page that are critical of him or his policies, and hiding critical comments made by

Plaintiffs from the view of others who visit the Page.
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II. Plaintiffs’ Subpoenas and the Information Sought

   On May 26, 2022, Plaintiffs served subpoenas via U.S. Mail on two City of

Chicago agencies that have responsibility for receiving and/or investigating

complaints against public officials such as Alderman Gardiner—(1) the Board of

Ethics (“BOE”) and (2) the Office of the Inspector General (“OIG”).

   The named Plaintiffs in this case made numerous complaints to both of these

entities regarding Alderman Gardiner’s misuse of his Facebook Page prior to

bringing this lawsuit. See, e.g., Complaint, ECF 1, at ¶¶2, 6, 30, 36, 48, 65, 74, 78.

In particular, Plaintiffs requested that OIG and/or BOE investigate Alderman

Gardiner’s use of his Facebook Page and that Alderman Gardiner be admonished to

respect constituents’ First Amendment rights. Based on Plaintiffs’ communications

with these City agencies, Plaintiffs believe that these entities are likely in

possession of information and documents that are discoverable and relevant to this

litigation, including but not limited to the following:

   •   Statements of parties, including Defendant Ald. Gardiner, regarding his
       regulation of speech on his Facebook Page, his reasoning and rationales for
       deletion of particular content on the Page and/or his blocking particular
       users, and his policies regarding what content is permitted on the Page;

   •   Particular examples of content that Defendant Ald. Gardiner deleted or hid
       from the Facebook Page and confirmation that Defendant Ald. Gardiner was
       the relevant decisionmaker regarding regulation of posts to the Facebook
       Page;

   •   The identities of and/or statements of relevant witnesses, including members
       of Defendant Ald. Gardiner’s staff who were aware of and/or participated in
       regulation of content on the Facebook Page, and other constituents who have
       had similar experiences with Alderman Gardiner’s regulation of content on
       his Facebook Page; and




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   •   Documents reflecting Alderman Gardiner’s interactions with the named
       Plaintiffs regarding other political and community development issues which
       reflect on Alderman Gardiner’s motive and intent to engage in content-based
       and speaker-based regulation of the named Plaintiffs’ speech.

   The subpoenas to the BOE and OIG were essentially identical. Both sought the

following information:

   For the time period of May 7, 2019, to the present, all documents (including,
   but not limited to, complaints, audits, reviews, investigations, interviews,
   correspondence, reports, and findings) that reference or pertain to the
   following:

       •   45th Ward Alderman James Gardiner’s Facebook Page;
       •   45th Ward Alderman James Gardiner’s use of social media;
       •   Peter Czosnyka;
       •   Peter Barash;
       •   Dominick Maino;
       •   Steven Held;
       •   Adam Vavrick; or
       •   James Suh.

See ECF 54-1 at 3 (Plaintiffs’ subpoena and rider).

   The subpoenas requested compliance by June 21, 2022. Both OIG and BOE

requested an extension of time to comply, which Plaintiffs agreed to, and both

deadlines were extended to July 14, 2022. See ECF 54 at 2-3.

   After making a request for a short additional extension of time, the BOE

complied in full with Plaintiffs’ subpoena on July 18, 2022, serving 333 pages of

responsive documents and a privilege log identifying 32 additional responsive

documents that were withheld on the basis of claims of attorney-client, work

product, and deliberative-process privileges.

   The documents produced by BOE confirm Plaintiffs’ belief that OIG in particular

is very likely in possession of relevant and discoverable documents. Namely, in


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correspondence with the named Plaintiffs regarding their complaints about Ald.

Gardiner’s use and regulation of the Facebook Page, the Board of Ethics stated that

OIG has responsibility for conducting “factual investigations” into alleged ethics

violations. See, Ex. 3, BOE Correspondence with Plaintiff Czosnyka. In another

email, the BOE confirmed that the OIG would be tasked with investigating “why

someone has been blocked” from a government official’s Facebook Page and whether

there were “valid reasons” for blocking someone. Ex. 4, Correspondence with

Czosnyka.

III. Plaintiffs’ Good Faith Effort to Confer with OIG and OIG’s Failure to
     Raise Any Valid Objection in a Timely Manner

   Plaintiffs’ subpoena had a response date of June 21, 2022. On June 14, 2022,

counsel for OIG asked counsel for Plaintiffs for an extension of time to respond to

July 14, 2022, and for a meeting to confer regarding whether the subpoena could be

narrowed.

   Plaintiffs’ counsel agreed to the extension of time, and on June 16, 2022, counsel

for Plaintiffs met via a video conference with counsel for the OIG. On this call,

OIG’s attorneys indicated that the OIG believed the subpoena was overly broad in

two respects: (1) it would encompass documents that reference the named Plaintiffs

but are unrelated to their interactions with Alderman Gardiner and/or his Facebook

Page; and (2) it would encompass all “social media” use by Defendant Gardiner

rather than simply the Facebook Page at issue in the Complaint.

   Immediately following that call, on June 16, 2022, counsel for Plaintiffs sent

counsel for OIG an email agreeing to narrow the scope of the subpoena. In



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particular, counsel agreed to eliminate from their subpoena any documents that

pertain to the named Plaintiffs that didn’t have to do with Alderman Gardiner

and/or the Facebook Page. See, Ex. 1, June 16, 2022, email. Counsel wrote as

follows:

   Dear Rey,

   Thank you for meeting with me earlier today. As discussed, we are
   agreeable to narrowing our subpoena as follows:

   all documents (including, but not limited to, complaints, audits, reviews,
   investigations, interviews, correspondence, reports, and findings) that
   reference or pertain to the following:

       • 45th Ward Alderman James Gardiner's Facebook Page;
       • 45th Ward Alderman James Gardiner and any of the named
         Plaintiffs in our case (Pete Czosnyka, Peter Barash, Dominick
         Maino, Steve Held, Adam Vavrick, or James Suh).

   I hope that this is agreeable in that it will eliminate from the request any
   documents that pertain to our clients but are unrelated to their interactions
   with Alderman Gardiner and/or his Facebook page.

Ex. 1 at 1.

   Counsel for OIG acknowledged receipt of the email and stated that that OIG

attorneys would discuss the matter internally and respond. Id. Counsel for OIG

next wrote to Plaintiffs’ counsel on July 8, 2022. In this email, counsel for OIG

indicated that the narrowed scope was agreeable and that OIG would comply by the

agreed-upon deadline of July 15, 2022. Counsel wrote as follows:

   Thank you for being agreeable to narrowing the subpoena. I will endeavor
   to respond to the narrowed subpoena next week (and please understand,
   that I am very motivated to do this as I will be on vacation from July 15 to
   August 1).

Ex. 1 at 2-3.



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   Based on this correspondence, Plaintiffs’ counsel had every reason to believe that

OIG intended to comply with the subpoena with the narrowed terms set forth in

Plaintiffs’ counsel’s June 16th email by the agreed-upon deadline of July 14, 2022.

   Counsel next heard from counsel for OIG on July 14, 2022, which was the

deadline for OIG’s response to the narrowed subpoena. But instead of compliance

with the subpoena as promised, counsel raised a host of heretofore unstated

objections about the breadth of the subpoena for the first time. Id. at 4. Plaintiffs’

counsel responded that the OIG’s new objection “comes as a surprise to me after our

phone call and the follow up email I sent regarding our conversation several weeks

ago. We anticipated your response to the subpoena today.” Id. at 5.

   The parties had another phone call on July 15, 2022, regarding the OIG’s failure

to timely comply with the subpoena. During that call, counsel for Plaintiffs did not

object to OIG’s request for a protective order to govern the use and disclosure of the

subpoenaed documents. Ex. 2 at 2. Counsel for Plaintiffs did not agree to further

limit the scope of their subpoena and indicated that they would be filing a motion to

compel if OIG failed to comply with the subpoena as discussed. After that call,

counsel for OIG sent an email claiming that Plaintiffs had agreed to an extension of

time to August 5 and to limit their subpoena solely to the “complaints” filed by the

named Plaintiffs. Neither an extension of time nor further limitations on the scope

of Plaintiffs’ subpoena were discussed or agreed to. Ex. 2 at 1. Plaintiffs’ counsel

pushed back on this misrepresentation, and OIG filed this motion to quash the next




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day on July 15, 2022—i.e., the day after OIG had promised to produce responsive

documents in compliance with the subpoena. See Ex. 2 at 2.

                                     ARGUMENT

   The Office of Inspector General’s motion to quash should be denied for three

main reasons. First, OIG failed to timely assert objections to Plaintiffs’ subpoena

and failed to file a timely motion to quash, which constitutes a waiver of these

objections. Second, the objections based on burden and relevance are invalid. Third,

any concern the OIG has regarding the use or disclosure of responsive documents is

not a valid basis for it to completely withhold a response to the subpoena when such

concerns can be properly addressed by entry of a protective order.

I. OIG Waived Its Current Objections by Failing to Assert Them in a
   Timely Manner and/or File a Timely Motion to Quash

   OIG filed this motion to quash the day after its response deadline. See ECF 54.

Because the motion was not filed until after the deadline for compliance had

already lapsed, this motion should be denied as untimely.

   Under Fed. R. Civ. P. 45, “[a] subpoena may command: (A) production of

documents, electronically stored information, or tangible things at a place within

100 miles of where the person resides, is employed, or regularly transacts business

in person.” Fed. R. Civ. P. 45(c)(2)(A); see also Fed. R. Civ. P. 45(a)(1)(C) (“A

command to produce documents, electronically stored information, or tangible

things or to permit the inspection of premises ... may be set out in a separate

subpoena.”). Rule 45(d)(2)(B) requires that “[a] person commanded to produce

documents … may serve on the party or attorney designated in the subpoena a



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written objection” and that “[t]he objection must be served before the earlier of the

time specified for compliance or 14 days after the subpoena is served.” Fed. R. Civ.

P. 45(d)(2)(B).

   Rule 45 permits the court to quash a subpoena on a “timely” motion but does not

define “timely.” Courts within the Seventh Circuit have required that in order to be

“timely” a motion to quash must be filed either within 14 days of service of the

subpoena or before the deadline for compliance with the subpoena. Flagstar Bank,

FSB v. Freestar Bank, N.A., No. 09 C 1941, 2009 U.S. Dist. LEXIS 76842, at *10

(N.D. Ill. Aug. 25, 2009) (“a motion to quash must be made at or before the time of

compliance.”); Woodard v. Victory Records, Inc., 2014 U.S. Dist. LEXIS 69512, 2014

WL 2118799 at *4 (N.D. Ill. May 21, 2014) (“a motion to quash is timely when made

at or before the time of compliance.”); Sun Enters. v. May, No. 13-32459 HCD, 2014

Bankr. LEXIS 3534, at *9 (Bankr. N.D. Ind. July 9, 2014) (same); Cf. Ansur Am.

Ins. Co. v. Borland, No. 3:21-CV-00059-SMY-MAB, 2022 U.S. Dist. LEXIS 91557, at

*9 (S.D. Ill. May 20, 2022) (noting that “some courts have determined a court has

discretion to decide whether a motion to quash should be considered if the parties’

conduct indicates the time for compliance has not yet lapsed.”)

   This motion to quash was not filed until after the time for compliance had

passed. Specifically, Plaintiffs’ counsel agreed to grant OIG an extension of time

until July 14, 2022, to respond to the subpoena. See OIG Mot., ECF 54, at 2-3

(agreeing that the response deadline was extended to July 14, 2022). On the day

that it had agreed to comply with the subpoena, OIG failed to do so, asserting a raft




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of new, previously unstated objections. Instead, a day after its response deadline,

OIG filed this motion to quash the See ECF 54. Because the motion was not filed

until after the deadline for compliance had already lapsed, this motion should be

denied as untimely.

II.    OIG’s Claims of Undue Burden and Irrelevance Lack Merit

      Even if this Court decides to entertain OIG’s untimely motion to quash, the

motion should be denied because the objections OIG asserts lack merit. OIG’s

principal objections to Plaintiffs’ subpoena are that it is unduly burdensome and

seeks irrelevant documents. See OIG Mot. at 5-10. Plaintiff addresses each objection

in turn and shows that neither is meritorious.

      A. The Subpoena Seeks Discoverable and Relevant Documents

      OIG asserts that Plaintiffs’ subpoena “seeks documents that are irrelevant to the

claims that remain in this lawsuit.” Id. at 7. OIG seeks to characterize Plaintiffs’

subpoena as a fishing expedition for information that bears upon the dismissed

Monell claim against the City rather than the First Amendment claim against

Defendant Ald. Gardiner. Id. (“Plaintiffs’ subpoena, even as proposed to be

‘narrowed,’ seeks a large swath of documents that are, at best, relevant to only

those dismissed claims.”)

      This charge is meritless. As explained in the background above, the records

subpoenaed from OIG are highly relevant to Plaintiffs’ First Amendment claims.

The documents produced by the BOE strongly suggest that Plaintiffs have a well-

founded reason to believe that OIG may have obtained statements from Defendant




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Ald. Gardiner and members of his staff regarding the Facebook Page; their

regulation of content on the Page; their reasoning and rationales for deletion of

content on the Page and/or blocking particular users; and their policies regarding

what content is permitted on the Page. OIG files may also contain the statements of

other witnesses who have brought forth similar complaints. In addition, OIG’s

investigations into other complaints made by the named Plaintiffs against

Defendant Gardiner will reflect on Defendant Gardiner’s motive and intent when

regulating their interactions with the Facebook Page.

   In the analogous context of plaintiffs’ seeking production of files reflecting

complaints of misconduct against police officers, courts in this district have

overruled relevance objections and held that such documents are discoverable. For

example, in Lepianka v. Vill. of Franklin Park, No. 03 C 2991, 2004 U.S. Dist.

LEXIS 5013, at *2-3 (N.D. Ill. Mar. 25, 2004), the court granted a motion to compel

investigatory files reflecting complaints against defendant police officers, writing as

follows:

   Defendant Village first argues that in the absence of a Monell claim against
   the Village, prior complaints against the individual officers are not relevant
   …. Plaintiffs correctly argue that disciplinary records containing any
   similar factual allegations may be relevant and admissible under Rule
   404(b) to prove motive, intent, and/or modus operandi. See Okai v. Verfuth,
   275 F.3d 606 (7th Cir. 2001); Treece v. Hochstetler, 213 F.3d 360, 363 (7th
   Cir. 2000); Wilson v. City of Chicago, 6 F.3d 1233 (7th Cir. 1993); see also
   Edwards v. Thomas, 31 F. Supp.2d 1069 (N.D. Ill. Jan.7, 1999). Plaintiffs
   additionally argue that any prior allegation which would impeach the
   credibility of any of the defendant officers is relevant to show bias, interest
   or motiv[e] to initiate false charges, falsely testify in this case, and to have
   falsely testified in the underlying criminal case. Defendant Village's
   objection to the production of the defendant officers’ disciplinary records on
   the basis of Rule 404(b) is overruled.



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See also Grayson v. The City of Aurora, et al., No. 13 C 1705 (N.D.Ill. Dec. 19, 2013)

(ordering production of complaint files against defendant officers); Doe v. City of

Chi., No. 18-cv-03054, 2019 U.S. Dist. LEXIS 84268, at *1-2 (N.D. Ill. May 20, 2019)

(granting motion to compel production of documents concerning a non-party’s

complaint of misconduct, including the “complaint, the OIG Report, witness

statements, documents detailing the allegations, and documents that reflect the

outcome of the investigation into the student’s allegation.”)

   Here, Plaintiffs’ subpoena is much narrower than the production compelled in

the cases cited above. This is so in two respects. First, the subpoena is limited in

scope. That is, Plaintiffs seek only the files pertaining to (1) the Facebook Page that

is the subject of this lawsuit; and (2) complaints involving Defendant Ald. Gardiner

and the named Plaintiffs. In Lepianka and Grayson, in contrast, the plaintiffs

compelled government entities to produce not just the investigative files regarding

their own complaints of misconduct, but also all other complaints filed by other

citizens against the same defendant-officers, even if they did not arise from the

same subject matter. Second, the subpoena is limited in time to only the time period

of May 7, 2019, to the present. In Lepianka, the court rejected the city’s efforts to

limit the time period for which documents were to be produced. Lepianka, 2004 U.S.

Dist. LEXIS 5013, at *4 (“the Court declines to limit discovery of prior complaints

and disciplinary action to only claims of excessive force and false arrest within the

last five years. Plaintiffs are entitled to discover defendant officers’ disciplinary

records, and the trial judge will determine before or at the trial whether ‘other acts’



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are similar enough and close enough in time to be relevant to the matter in issue

and thus, admissible.”).

   Thus, Plaintiffs’ request is appropriately tailored and OIG’s “relevance”

objections should be overruled.

   B. The OIG’s Claims of Undue Burden Lack Merit

   The OIG also claims that the subpoena should be quashed because it would

impose “undue burden” on OIG. OIG Mot. at 5-6, 13. This objection also should be

overruled.

   It is well established that a subpoenaed party “has the burden of demonstrating

an undue burden.” In re Subpoena, No. 16-cv-4619, 2016 U.S. Dist. LEXIS 72483, at

*11 (N.D. Ill. June 3, 2016) (overruling “burden” objections to subpoena containing

“24 separately numbered requests … for documents related to 70 or more entities”);

see also, Pacific Century Int’l, Ltd. v. Does 1-37, 282 F.R.D. 189 (N.D. Ill. 2012) (“The

party opposing discovery has the burden of showing the discovery is overly broad,

unduly burdensome, or not relevant.”) (citation omitted). A court can “modify or

exclude portions of a subpoena only if the [respondent] carries the difficult burden

of showing that the demands are unduly burdensome or unreasonably broad.”

EEOC v. Konica Minolta Business Solutions U.S.A., Inc., 639 F.3d 366, 371 (7th Cir.

2011) (citations omitted). Of course, “any subpoena places a burden on the person to

whom it is directed. Time must be taken from normal activities and resources must

be committed to gathering the information necessary to comply.” FTC v. Shaffner,

626 F.2d 32, 38 (7th Cir. 1980). “When determining if a burden is undue,” however,




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“the court must ask whether the burden of compliance with [the subpoena] would

exceed the benefit of production of the material sought by it.” Northwestern Mem'l

Hosp. v. Ashcroft, 362 F.3d 923, 927 (7th Cir. 2004). “While non-party status is a

significant factor to be considered in determining whether the burden imposed by a

subpoena is undue, non-parties are not exempt from the basic obligation of all

citizens to provide evidence of which they are capable upon appropriate request.”

PsyBio Therapeutics, Inc. v. Corbin, No. 20 C 3340, 2021 U.S. Dist. LEXIS 186820,

at *6-7 (N.D. Ill. Sep. 29, 2021) (internal citation and alteration omitted).

   Here, OIG has failed to articulate how production of the subpoenaed materials

would impose an undue burden on its resources or staff. As described above, the

subpoena is narrowly focused to a three-year time span and seeks only materials

that are directly relevant to Plaintiffs and the claims they have asserted in this

case. OIG’s vague claims of “undue burden” without any further explanation or

elaboration cannot carry its burden to quash Plaintiffs’ subpoena in its entirety.

   In addition, OIG also claims that the subpoena is unduly burdensome because

requested documents can be obtained through party discovery issued to Defendant

Ald. Gardiner. Mot. at 10. But this simply isn’t true. Defendant Ald. Gardiner would

not be privy to whom OIG interviewed, what statements the OIG obtained from

witnesses, what information OIG gathered, and what other complaints it has

received regarding Ald. Gardiner’s misuse of his Facebook Page. OIG is the sole

entity from whom these documents can be obtained.




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   Finally, OIG’s claims of undue burden are further brought into doubt by the fact

that its sister agency, the BOE, had no problem responding to an almost identical

subpoena in a timely manner, including review of the documents produced for

matters that are subject to privileges such as attorney work product, attorney-client

communications, or deliberative process.

   For all of these reasons, OIG has an obligation to comply with the subpoena and

provide the discoverable information in its possession and its vague claims of

“undue burden” should be rejected.

III. A Protective Order Is the Proper Way to Address Concerns that
     Responsive Documents May Reveal Confidential Information or
     Compromise OIG’s Investigative Functions

   Finally, OIG argues that compliance with the subpoena would compromise OIG’s

investigative functions by revealing the identities of witnesses, thereby potentially

“chilling” others from coming forward with complaints of government misconduct.

OIG Mot. at 12. There are two reasons this argument fails.

   First, with regard to documents in the OIG’s possession that contain the

statements of the parties to this case, the objection lacks any legitimate basis.

Plaintiffs, the proponents of the subpoena, are not trying to keep their identities

secret from disclosure. Likewise, Defendant Ald. Gardiner did not object to issuance

of this subpoena. See ECF 48, June 1, 2022, Minute Entry (“Defendant reports that

it did not object to Plaintiffs’ subpoenas.”). Therefore, any objection based on

witnesses’ desire for confidentiality should be overruled to the extent that OIG is in

possession of statements by the parties to this case.




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   Second, with regard to non-parties, courts in this circuit have regularly rejected

broad claims that discoverable materials can be withheld based on a government

entity’s wish to keep the identities of witnesses who have made complaints of

government misconduct private. Rather, courts have held that a more appropriate

balance is struck by entry of a protective order that would limit the use and

disclosure of investigatory information. See, e.g., Lepianka v. Vill. of Franklin Park,

No. 03 C 2991, 2004 U.S. Dist. LEXIS 5013, at *5 (N.D. Ill. Mar. 25, 2004) (ordering

production of complaint files and finding that “good cause exists to enter a

protective order limiting the public disclosure of the identity of complainants and

witnesses.”); Santiago v. City of Chi., No. 09 C 3137, 2010 U.S. Dist. LEXIS 29198,

at *11-12 (N.D. Ill. Mar. 26, 2010) (“The City’s interest in ensuring that these active

CR files be protected from disclosure … can be accommodated by an ‘Attorneys’

Eyes Only’ protective order under which only counsel of record in this case may

review the open CR files and use them only for purposes of this litigation. … An

attorney’s eyes only protective order will allow Santiago’s counsel to discover

potentially relevant information and at the same time, shield witness statements

from disclosure to the accused officers and other witnesses who have not yet been

interviewed as well as protect the privacy interests of individuals involved in the

investigation and the confidentiality of sources and witnesses.”).

   Here, Plaintiffs have already informed counsel for the OIG that they will agree

to entry of a protective order to appropriately govern the use and disclosure of the

subpoenaed records. See Ex. 2 at 2. Such an order would appropriately balance




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Plaintiffs’ interest in obtaining discovery with the OIG’s interests in the

confidentiality of its investigations.

                                    CONCLUSION

   For the reasons set forth above, Plaintiffs’ respectfully request that this Court

deny Respondent Office of the Inspector General’s motion to quash.


                                           Respectfully submitted,

                                           /s/ Adele D. Nicholas
                                           /s/ Mark G. Weinberg
                                           Counsel for Plaintiffs


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